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15                         IN THE UNITED STATES DISTRICT COURT

16                      FOR THE EASTERN DISTRICT OF CALIFORNIA

17

18 UNITED STATES OF AMERICA                      ) Case No.: 1:08-CV-01786-JLT-SAB
                                                 )
19                           Plaintiff,          ) REPLY IN SUPPORT OF THE UNITED
                                                 ) STATES OF AMERICA’S MOTION TO
20         vs.                                   ) REOPEN CASE
                                                 )
21 ORGANIC PASTURES DAIRY COMPANY,               )
   LLC, a corporation, and MARK McAFEE, an       ) HEARING DATE: May 24, 2024
22 individual,                                   ) TIME: 9:30 AM
                                                 ) PLACE: Courtroom 6, Fresno
23                                               ) JUDGE: Hon. Jennifer L. Thurston
                            Defendants.          )
24                                               )
                                                 )
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           REPLY IN SUPPORT OF THE UNITED STATES OF AMERICA’S MOTION TO REOPEN CASE
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 1          On July 26, 2023, the parties entered into a Consent Decree (“Decree”) to resolve Raw

 2 Farm’s 1 prior Federal Food, Drug, and Cosmetic Act (“FDCA”) violations and their contempt of the

 3 permanent injunction issued by the Court in 2010, ECF No. 48 (the “April 2010 Order”) (ECF No.

 4 66.) On the same day, this Court approved and entered the Decree as a final resolution of the

 5 dispute (ECF No. 67.) The Decree is enforceable as a judicial decree subject to the rules generally

 6 applicable to other judgments and decrees. See Rufo v. Inmates of Suffolk Cty. Jail, 502 U.S. 367,

 7 378 (1992). The parties explicitly agreed in the Decree that future violations of the FDCA, the

 8 Decree, or the April 2010 Order may be addressed by a process in which FDA would notify Raw

 9 Farm in writing of the violations and order them to take appropriate corrective actions (ECF No. 67
10 at ¶ 7.) The parties also agreed that Raw Farm would immediately and fully comply with FDA’s

11 orders issued pursuant to the Decree. (Id. at ¶ 8.)

12          Therefore, Raw Farm’s recent post-Decree violations of the FDCA that led to FDA issuing
13 its Letter Order of March 1, 2024, and which are the subject of the pending Motion (ECF No. 69)

14 fall squarely within the four corners of the Decree. These violations do not, as Raw Farm argues,

15 require the government to bring “new claims” subject to “challenges” and “discovery.” (See Opp.

16 at 2 (ECF No. 77)). Instead, this Court “has the inherent authority to enforce compliance that it has

17 entered in an order, to hold parties in contempt for violating the terms therein, and to modify a

18 decree.” See Nehmer v. U.S. Dep’t of Veterans Affairs, 494 F.3d 846, 860 (9th Cir. 2007); see also

19 Frew ex rel. Frew v. Hawkins, 540 U.S. 431, 441 (2004) (“Federal courts are not reduced to

20 approving consent decrees and hoping for compliance. Once entered, a consent decree may be

21 enforced.”). In fact, the type of summary enforcement the United States is requesting here finds

22 support in both the “‘high judicial favor’ accorded the voluntary settlement of disputes,” and “the

23 efficiency of having one court see litigation through to its conclusion, thereby avoiding duplication

24 of effort.” See In re City Equities Anaheim, Ltd., 22 F.3d 954, 957 (9th Cir. 1994) (citing Autera v.

25 Robinson, 419 F.2d 1197, 1199, 1200 n.10 (D.C. Cir.1969)); Dacanay v. Mendoza, 573 F.2d 1075,

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     1
27  For ease of reading, the United States uses “Raw Farm” herein to refer to Defendant RAW FARM,
   LLC; Defendant Mark McAfee; and RAW FARM, LLC’s President, Aaron McAfee, who is an
28 “Associated Person” bound by the terms of the 2010 Permanent Injunction and 2023 Consent
   Decree in this case. See Consent Decree, ECF No. 67, ¶¶ 2–3.
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 1 1078 (9th Cir. 1978).

 2          Further, as the Decree is clear and there is no dispute among the parties as to its meaning,
 3 the interpretation of the Decree should not stand in the way of summary enforcement of its terms.

 4 Cf Callie v. Near, 829 F.2d 888, 890 (9th Cir. 1987) (“Where material facts concerning the

 5 existence or terms of an agreement to settle are in dispute, the parties must be allowed an

 6 evidentiary hearing.”). Finally, this Court’s jurisdiction to summarily enforce the Decree through

 7 resolution of the pending Motion is proper, as the Court expressly retained jurisdiction over Raw

 8 Farm’s compliance with the terms of the April 2010 Order and the Decree and to grant additional

 9 relief. (April 2010 Order at ¶ 2(N) (ECF No. 48) (this Court retaining jurisdiction over the action
10 and the parties to this case “to issue such further decrees and orders as may be necessary to enforce

11 or modify this Order and for granting such other relief as may be necessary and appropriate for the

12 proper disposition of this case”); Decree ¶ 15 (stating “[t]his Court retains jurisdiction over this

13 action and Defendants for the purpose of enforcing and modifying this Decree and for the purpose

14 of granting such additional relief as may be necessary or appropriate”).) See also Jeff D. v.

15 Kempthorne, 365 F.3d 844, 853 (9th Cir. 2004); Flanagan v. Arnaiz, 143 F.3d 540, 544 (9th Cir.

16 1998) (holding that enforcement of a settlement agreement requires its own basis for jurisdiction,

17 which may be supplied by a provision retaining jurisdiction over the agreement).

18          For the reasons cited above, the United States respectfully moves the Court to reopen the
19 case and to summarily enforce the terms of the Decree as outlined in the United States’ Motion to

20 Enforce the Decree (ECF No. 69).

21

22 Date: May 20, 2024                                         Respectfully submitted,
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 1                            CERTIFICATE OF SERVICE BY U.S. MAIL

 2          The undersigned hereby certifies that she is an employee of the Office of the United States

 3 Attorney for the Eastern District of California and is a person of such age and discretion to be

 4 competent to serve papers:

 5          That on May 20, 2024, she served a copy of:

 6     REPLY IN SUPPORT OF UNITED STATES OF AMERICA’S MOTION TO REOPEN

 7                                                 CASE

 8 by placing said copy in a postpaid envelope addressed to the person(s) hereinafter named, at the

 9 place(s) and address(es) stated below, which is/are the last known address(es), and by depositing
10 said envelope and its contents in the United States Mail at Fresno, California;

11
     Addressee(s):
12
   Mark R. Figueiredo
13 Structure Law Group, LLP
   1754 Technology Drive, Suite 135
14 San Jose, CA 95110
   (408) 441-7500
15
          and by serving the following individuals via email through the Court’s ECF system:
16
   Mark Figueiredo
17 mrf@structurelaw.com

18
                                                           /s/ Marcela Vasquez
19                                                         Marcela Vasquez

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